Case 8:15-cv-02063-DOC-DFM Document 157 Filed 06/22/18 Page 1 of 9 Page ID #:2304



  1      DAVID B.JONELIS(BAR NO.265235)
         djonelis@lavelysinger.com
 2
         JAKE A. CAMARA(BAR NO.305780)
 3       jCamara@lavelysinger.com
         LAVELY &SINGER
 4       PROFESSIONAL CORPORATION
         2049 Century Park East, Suite 2400
 5       Los Angeles, California 90067-2906
 6
         Telephone: (310)556-3501
         Facsimile: (310)556-3615
 7
         Attorneys for Plaintiff and Counterdefendant
 8       GRUMPY CAT LIMITED
 9                                UNITED STATES DISTRICT COURT
10
               CENTRAL DISTRICT OF CALIFORNIA,SOUTHERN DIVISION
11
         GRUMPY CAT LIMITED,an Ohio                 Case No: 8:15-cv-02063-DOC-DFM
12       Limited Liability Entity,
13
                                                    PLAINTIFF GRUMPY CAT
                     Plaintiff,                     LIMITED'S MOTION FOR
14                                                  DISCRETIONARY COSTS;
               vs.                                  DECLARATION OF JAKE A.
15                                                  CAMARA
   GRENADE BEVERAGE LLC,a
16                                                  [Proposed Order filed concurrently
   California Limited Liability Company;
17 PAUL SANDFORD,an individual;                     herewith]
   NICK SANDFORD,an individual; and
18 DOES 1-50,                                       Date: July 23, 2018
                                                    Time: 8:30 A.M.
19                   Defendants.                    Crtroom: 9D

20 PAUL SANDFORD,an individual;                     Case filed: December 11, 2015
21 NICK SANDFORD,an individual; and                 FPTC:       December 18, 2017
   GRUMPY BEVERAGE,LLC, a Texas                                 8:30am
22 Limited Liability Company,                       Trial date: January 16, 2018
                                                    Judge:      Hon. David O. Carter
23 I I               Counterclaimants,
24 I I         vs.
25       GRUMPY CAT LIMITED,an Ohio
         Limited Liability Entity; and ROES 1-5,
26

27 ~ ~               Counterdefendants.

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                           MOTION FOR DISCRETIONARY COSTS
Case 8:15-cv-02063-DOC-DFM Document 157 Filed 06/22/18 Page 2 of 9 Page ID #:2305



 1   TO THE COURT,ALL PARTIES, AND THEIR ATTORNEYS OF RECORD
 2   HEREIN:
 3           PLEASE TAKE NOTICE that, on July 23, 2018 at 8:30 a.m. or as soon
 4   thereafter as this matter may be heard by the above-entitled Court, in Courtroom 9D
 5   of the United States District Court for the Central District of California, located at
 6   411 West Fourth Street, Room 1053 Santa Ana, CA 92701-4516, Plaintiff and
 7   Counter-defendant Grumpy Cat Limited ("Plaintiff')will and hereby does move this
 8   court for an award of discretionary costs in the amount of$25,036.
 9           This motion is made pursuant to Central District of California Local Rule 54-
10   3.12.
11           This Motion is timely pursuant to FRCP 54, as it is filed within fourteen (14)
12   days after entry of Judgment.
13           This Motion is based upon this Notice of Motion and Motion, the attached
14   Memorandum of Points and Authorities, e~ibits, all records, pleadings and papers
15   on file herein, and upon such further oral argument and/or documentary evidence as
16   may be presented prior to or at the hearing on this Motion.
17

18                                         Respectfully submitted,
19 ~ Dated: June 22, 2018                  LAVELY &SINGER
20

21
                                           By:      /s/ Jake A. Camara
22                                                   J
                                                 Attorneys for Plaintiff and
23                                               Counterdefendant
                                                 GRUMPY CAT LIMITED
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                         MOTION FOR DISCRETIONARY COSTS
Case 8:15-cv-02063-DOC-DFM Document 157 Filed 06/22/18 Page 3 of 9 Page ID #:2306



 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.         INTRODUCTION
 3               Pursuant to Local Rule 54-3.12, Plaintiff Grumpy Cat Limited ("Plaintiff')
 4    respectfully moves for an order awarding Plaintiff its trial graphics costs in the
 5    amount of$25,036.
 6    II.         THE COSTS WERE REASONABLY NECESSARY
 7               Pursuant to Local Rule 54-3.12, upon the order ofthe Court, the following
 8 ~ items may be taxed as costs:

 9               (a)Summaries, computations, polls, surveys, statistical comparisons, maps,
10                   charts, diagrams, and other visual aids reasonably necessary to assist the jury
11                   or the Court in understanding the issues at the trial;
12               (b) Photographs, if admitted in evidence or attached to documents necessarily
13                  filed and served upon the opposing party; and
14               (c)The cost of models.
15                As the Court is well aware, the services and expertise of Mr. Dave Botwin of
16 !~ Litigations Illustrated were instrumental to presenting complex copyright, trademark,

17 'I, and breach of contract issues in a way to assist the Jury in understanding the issues at

18 '~ I trial.

19                As detailed in the invoice attached hereto as Exhibit "A," Mr. Botwin's services
20    included but were not limited to (a)creating charts and diagrams ofPlaintiff's
21    intellectual property;(b)creating visual aids and demonstrative series for use during
22    witness testimony and opening and closing statements,(c)creation oftrial exhibits;
23    and(d)attending trial and presenting graphics, models, exhibits, and other visual aids
24    to the Jury in real time.
25    ///

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                               MOTION FOR DISCRETIONARY COSTS
Case 8:15-cv-02063-DOC-DFM Document 157 Filed 06/22/18 Page 4 of 9 Page ID #:2307



 1      III.   CONCLUSION
 2             For the foregoing reasons, Plaintiff respectfully requests that the Court grant
 3      Plaintiff's motion in its entirety and award Plaintiff discretionary costs in the amount
 4      of$25,036 in this action.
 5

 6      Dated: June 22, 2018                    Respectfully submitted,
 7                                              LAVELY &SINGER
 8 '~
                                                David B. Jonelis
                                                Jake A. Camara
 9

10                                                      /s/ Jake A. Camara
11                                                       Jake A. Camara

12                                              Attorneys for Plaintiff and Counter-Defendant
13                                              GRUMPY CAT LIMITED
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                            MOTION FOR DISCRETIONARY COSTS
Case 8:15-cv-02063-DOC-DFM Document 157 Filed 06/22/18 Page 5 of 9 Page ID #:2308



 1                           DECLARATION OF JAKE A. CAMARA
 2            I, Jake A. Camara, declare as follows:
 3            1.     I am an attorney at law duly licensed to practice in the State of
 4      California and am an associate with the law firm Lavely &Singer Professional
 5      Corporation, attorneys for Plaintiff Grumpy Cat Limited ("Plaintiff') herein. I am
 6      also familiar with the bills submitted to Plaintiff in this matter. I have personal and
 7 ~ firsthand knowledge ofthe matters set forth in this declaration and, if called and

 8      sworn as a witness, I could and would testify competently thereto under oath.
 9            2.     A true and correct copy ofthe invoice from Litigations Illustrated is
10      attached hereto as E~ibit"A."
11            3.     As shown on the invoice, the total cost of Mr. Botwin's services totaled
12 ~, ~ $25,036($6,000 retainer, plus $19,036 outstanding).

13            4.     Mr. Botwin has over twenty-three years oftrial graphics experience, and
14      his services were instrumental and reasonably necessary to assist the Jury and this
15      Court in understanding the complex issues at trial.
16            I declare under penalty of perjury under the laws ofthe United States of
17      America and the State of California that the foregoing is true and correct.
18            Executed this 22nd day of June, 2018, at Los Angeles, California.
19 I~

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                                                              /s/     Jake A. Camara
21                                                                  JAKE A.
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                             DECLARATION OF JAKE A. CAMARA
Case 8:15-cv-02063-DOC-DFM Document 157 Filed 06/22/18 Page 6 of 9 Page ID #:2309
Case 8:15-cv-02063-DOC-DFM Document 157 Filed 06/22/18 Page 7 of 9 Page ID #:2310


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                         5024 Rubio Ave
                         Encino, Ca 91436


  Bill To

Lavely &Singer
Attn: Martin Singer, Esq                                                                                                                          P.O. Number                Terms

                                                                                                                                                                          Due on receipt

Quantity                    Item Code                                             Serviced                                      Description              Price Each           Amount

      2.5 Trial Prep                                                           12/19/2017 Trial Preparation Work -Meet at Lavely &Singer                        150.00             375.00
                                                                                          Office with D. Jonelis to discuss case preparation.
                                                                                          Download first batch of documents to prepare for use
                                                                                          at trial
      2.5 Trial Prep                                                           12/20/2017 Trial Preparation Work -Receive second batch of                       150.00             375.00
                                                                                          exhibits as PDF. Convert from PDF to TIFF files to use
                                                                                          in Trial Software. Rotate images as needed. Convert
                                                                                          some overly large images to smaller sizes.
       5 Trial Prep                                                            12/21/2017 Trial Preparation Work -Continue converting PDF                       150.00             750.00
                                                                                          exhibits to be used in trial. Had issues with Excel 'Live'
                                                                                          files received as exhibits from Def. Files were
                                                                                          ridiculously large and unusable. Created several
                                                                                          options to convert the excel files to make them usable
                                                                                          and e-mail David Jonelis to determine best solution f'or
                                                                                          use at trial.
      1.5 Trial Prep                                                           12/22/2017 Trial Preparation Work - 11.15 phone call with D.                     l 50.00            225.00
                                                                                          Jonelis to discuss trial preparation. Work on Excel
                                                                                          conversion to exhibits. Review complaint and cross
                                                                                          complaint.
      7.5 Graphics                                                             12/23/2017 Graphics Work -Create 17 Slides for Demonstrative                     150.00           1,125.00
                                                                                          Series for "intent".
      10 Graphics                                                              12/27/2017 Graphics Work -Create 32 Slides for Demonstrative                     150.00           1,500.00
                                                                                          Series "Accounting". Email Draft for review.
     2.5 Graphics                                                              1/10/2018  Graphics Work -Receive materials trom Jake to create                  150,00             375.00
                                                                                          Demonstrative series for "Approvals"
     9.5 Graphics                                                              1/11/2018  Graphics Work -Create 17 slides for Demonstrative                     150.00           1,425.00
                                                                                          series "Approvals". Sznd First Draft. Receive fist set of
                                                                                          revisions for Approvals. Create Demonstratives for
                                                                                          "Exhibit 13". Receive new exhibits. Add to trial
                                                                                          database.
     1 3.5 Trial Prep                                                          1/12/2018  Trial Preparation Work -Meeting Lavely &Singer at                     1.50.00          2,025.00
                                                                                          1 1 : 15. Review Demonstratives.
      75 Prints                                                                1/12/2018  Graphics Print -Print 75 slides for Meeting at Lavely                   1.00               75.00
                                                                                          & Singer to Review graphics


                                                                                                                                              Total

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Case 8:15-cv-02063-DOC-DFM Document 157 Filed 06/22/18 Page 8 of 9 Page ID #:2311


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                         5024 Rubio Ave
                         Encino, Ca 91436


  Bill To

Lavely &Singer
Attn: Martin Singer, Esq                                                                                                                           P.O. Number                   Terms

                                                                                                                                                                              Due on receipt

Quantity                    Item Code                                   Serviced                                        Description                          Price Each           Amount

      3.5 Trial Prep                                                   1/13/2018                  Trial Preparation Work -Phone call at 2pm to discuss             150.00              525.00
                                                                                                  trial graphics. Rename, convert and load additional
                                                                                                  documents not yet designated as exhibits. 3rd round of
                                                                                                  revisions to Intent and Approval demonstratives.
                                                                                                  Rename and Renumber tinal slides chosen

      2.5 Courtroom Setup                                             1/14/2018                   Prepare and pack all equipment to be used in                     150.00              375.00
                                                                                                  courtroom and war room. Not knowing technology in
                                                                                                  courtroom had to pack up everything to be prepared on
                                                                                                  site.
     2.5 Graphics                                                     1/15/2018                   Graphics Work -Create first draft of Demonstratives              150.00              375.00
                                                                                                  for Derivative
      18 Trial Prep                                                    Ul6/2018                   'Trial Preparation Work -Travel to courthouse to meet            150.00            2,700.00
                                                                                                  attorneys at noon. At courthouse till 6pm. Create
                                                                                                  counter graphics for Kia. Prepare Trial scripts for
                                                                                                  Tabitha, Ben, Bryan and Kia -Create callouts and
                                                                                                  presentations to follow scripts. Scan exhibits.

     200 Prints                                                        I / l 6/2018               Graphics Yrint - Yrint 200 pages of~ new exhibits and               l .00            200.00
                                                                                                  demonstratives.

        1 Parking                                                     1/16/2018                   Parking Fees at Courthouse -Had to park in building               20.00               20.00
                                                                                                  behind courthouse
      1 8 Trial Presentation                                          1 /17/2018                  Trial Presentation Work - At court at 6:30 am to setup          ]50.00             2,700.00
                                                                                                  trial equipment for courtroom. Direct examination of
                                                                                                  Tabitha. Direct Exam of Ben. After court sent social
                                                                                                  media content from Kia's office. Convert social media
                                                                                                  to be able to use in trial system. Crop all Social media
                                                                                                  snippets to display properly. Add names to bottom of
                                                                                                  all Social Media to keep organized.

     500 Prints                                                       1/17/2018                   Graphics Print -Print copies of all the social media. As            1.00             500.00
                                                                                                  well as revised demonstratives.
        1 Parking                                                     1/17/2018                   Parking Fees at Courthouse                                          7.00                7.00


                                                                                                                                         Total

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Case 8:15-cv-02063-DOC-DFM Document 157 Filed 06/22/18 Page 9 of 9 Page ID #:2312


    ~_                                                                                                                                                    Invoice
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                       5024 Rubio Ave
                       Encino, Ca 91436


  Bi ll To

Lavely &Singer
Attn: Martin Singer, Esq                                                                                                        P.O. Number                     Terms

                                                                                                                                                             Due on receipt

Quantity                  Item Code                          Serviced                                  Description                           Price Each          Amount

       24 Trial Presentation                                I / 18/2018          Trial Presentation Work -Full Day at court. Direct                150.00           3,600.00
                                                                                 exam ofKia. Cross exam ofNick and Paul Sandford.
                                                                                 At court from 7. I Sam till 10.30pm. Go from court to
                                                                                 Hotel. Setup war room in upstairs lounge. Create
                                                                                 demonstratives for Expert Witness. Create script for
                                                                                 expert witness cross examination. Create Script for
                                                                                 Closing. Work at hotel all night.

       1 Parking                                           1/18/2018             Parking Fees at Courthouse                                          7.00                7.00
     250 Prints                                            1/18/2018             Graphics Print -Print Slides and Script for Expert                  1 .UO             250.00
                                                                                 exam. Print Expert Demonstratives. Print slides for
                                                                                 closing
       1 1 Trial Presentation                              I / 19/201 S          Trial Presentation Work -Full Day at court. Finish                150.00            1,650.00
                                                                                 Sandford Cross. Cross of Expert Witness. Stay at court
                                                                                 to complete jury instructions.
        1 Parking                                          1/19/2018             Parking Fees at Courthouse                                          7.00                7.00
      2.5 Trial Prep                                       1/20/2018             Trial Preparation Work -Review final ofjury                       150.00              375.00
                                                                                 instructions and create notes and comments for closing.
       I 1 Trial Prep                                      1 /21 /2018           Trial Preparation Work -Travel to Hotel and setup                 150.00            1,650.00
                                                                                 war room in conference room. Setup Projector and
                                                                                 screen for closing practice. Finish final changes to
                                                                                 closing script at Sam.
     188 Prints                                            1/21/2018             Graphics Print -Print closing scripts and closing slides            1.00              188.00
                                                                                 for exchange
       1 1 Trial Presentation                              1/22/2018             Trial Presentation Work -Full day at court. Closing               150.00            1,650.00
                                                                                 arguments. Pack up courtroom equipment and clear out
                                                                                 courtroom. Jury deliberation and decision
         1 Parking                                         1/22/2018             Parking Fees at Courthouse                                          7.00                 7.00


         1 Memo                                            1 /3/2018             Receive Retainer Check for Trial                              -6,000.00           -6,000.00




                                                                                                                       Tota I                                     $19,036.00



                                                                                            Page 3
